                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

UNITED STATES OF AMERICA and      )
CONSUMER FINANCIAL PROTECTION )
BUREAU,                             )
                                  )
           Plaintiffs,            )                  Civil Action No.: 2:21-cv-2664
                                  )
           v.                     )
                                  )
TRUSTMARK NATIONAL BANK,          )
                                  )
           Defendant.             )
____________________________________)

   UNOPPOSED MOTION AND MEMORANDUM IN SUPPORT TO TERMINATE
           CONSENT ORDER AND DISMISS WITH PREJUDICE

         Plaintiffs the United States of America (“United States”) and the Consumer Financial

Protection Bureau (“Bureau”), by and through undersigned counsel, file this unopposed motion to

provide the Court with a status update and to respectfully request termination of the Consent Order

and dismissal of this case with prejudice.

         The Court entered a Consent Order in this case on October 27, 2021 (ECF 26) (“Consent

Order”). The Consent Order states that its requirements will remain in effect for five (5) years or

longer if Trustmark National Bank (“Trustmark”) has not invested all money required by the

Consent Order. (Id. ¶¶ 55-56). The Consent Order also states that other modifications may be

made upon approval of the Court, by motion by any Party, and that the Parties will work

cooperatively to propose modifications if there are changes in material factual circumstances. (Id.

¶ 59).

         In support of this motion, Plaintiffs advise the Court that Trustmark has demonstrated a

commitment to remediation, and:



                                                1
          1. Trustmark has fully disbursed the loan subsidy fund ($3,850,000) as required under

              the terms of the Consent Order (see id. ¶ 22);

          2. Trustmark paid a $5,000,000 civil money penalty as required under the terms of the

              Consent Order, of which $1,000,000 was paid to the Bureau and $4,000,000 was

              remitted after Trustmark paid that amount to the Office of the Comptroller of the

              Currency (“OCC”) as satisfaction of its obligation to pay that amount in penalties

              to the OCC for related conduct (see id. ¶ 41); and

          3. Trustmark is substantially in compliance with the other monetary and injunctive

              terms of the Consent Order.

       We have conferred with counsel for Trustmark, and the entity does not oppose the motion.

       WHEREFORE, for these reasons, Plaintiffs respectfully request that the Court enter the

attached Proposed Order terminating the Consent Order and dismissing this case with prejudice.

       Respectfully submitted this 20th day of May 2025.


       For the United States of America:

 JOSEPH C. MURPHY, JR.                            HARMEET K. DHILLON
 Interim United States Attorney                   Assistant Attorney General
 Western District of Tennessee                    Civil Rights Division

                                                  MICHAEL E. GATES
                                                  Deputy Assistant Attorney General
                                                  Civil Rights Division

                                                  CARRIE PAGNUCCO
                                                  Chief

                                                  VARDA HUSSAIN
                                                  Principal Deputy Chief

 /s/ Eileen Kuo                                   /s/ Marta Campos
 EILEEN KUO (TN Bar No. 027365)                   MARTA CAMPOS (pro hac vice)
 Assistant United States Attorney                 Trial Attorney


                                              2
 United States Attorney’s Office             Housing & Civil Enforcement Section
 Western District of Tennessee               950 Pennsylvania Ave. NW – 4CON
 167 North Main Street, Suite 800            Washington, DC 20530
 Memphis, TN 38103                           Phone: (202) 514-4713
 Phone: (901) 544-4231                       Fax: (202) 514-1116
 Fax: (901) 544-4230                         Marta.Campos@usdoj.gov
 eileen.kuo@usdoj.gov


For the Consumer Financial Protection Bureau:

                                             MARK PAOLETTA
                                             Chief Legal Officer

                                             VICTORIA DORFMAN
                                             Senior Legal Advisor

                                             CARA PETERSEN
                                             Acting Enforcement Director

                                             DAVID RUBENSTEIN
                                             Deputy Enforcement Director

                                             /s/ Jonathan Reischl
                                             JONATHAN REISCHL
                                             JEFFREY BLUMBERG
                                             Enforcement Attorneys
                                             Consumer Financial Protection Bureau
                                             1700 G Street, NW
                                             Washington, DC 20552
                                             Phone: (202) 435-9202
                                             jonathan.reischl@cfpb.gov
                                             jeffrey.blumberg@cfpb.gov




                                         3
                             CERTIFICATE OF CONSULTATION

          I certify that on May 20, 2025, I consulted with Defendant’s counsel regarding this motion

and Defendant’s counsel does not oppose the relief requested herein.

                                                       /s/ Marta Campos
                                                       Marta Campos


                                  CERTIFICATE OF SERVICE

          I certify that on May 20, 2025, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will send notification of such filings to all counsel of

record.

                                                       /s/ Eileen Kuo
                                                       Eileen Kuo




                                                  4
